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                            EXHIBIT 14
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From:                        Elodie Currier <Elodie_Currier@tnwd.uscourts.gov>
Sent:                        Sunday, May 5, 2024 10:19 AM
To:                          Blumenfeld, Jack; Anthony David Raucci; Eric Gill; jayers@sheppardmullin.com; Tigan,
                             Jeremy A.; Jonathan DeFosse; Robert Masters; Roy Jung; Zachary Alper; Timothy
                             Cremen; Elkins, David S.; Ronald P. Golden III; Lemieux, Ronald S.;
                             sbrauerman_bayardlaw.com; Smith, Victoria; Stanford, Matthew A.; Cai, Xiaomei
Cc:                          Jon McCalla; Jeff Sample
Subject:                     [EXT] Draft Verdict Form (21-1417)
Attachments:                 21-1417 - Special Verdict Form 5.5 DRAFT.pdf



Please review the attached draft special verdict form. Written objections and/or comments should be
submitted no later than 12:00 noon on Monday, May 6, 2024.




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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

 QORVO, INC.,                           )
                                        )
                  Plaintiff,            )
                                        )
       v.                               )   C.A. No. 1:21-cv-01417-JPM
                                        )
 AKOUSTIS TECHNOLOGIES, INC. and        )
 AKOUSTIS, INC.,                        )
                                        )
                  Defendants.           )

                               SPECIAL VERDICT FORM
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                                         INSTRUCTIONS

        When answering the following questions and completing this Verdict Form, please

 follow the directions provided on each page that follows and the Jury Instructions that you have

 been given. Your answer to each question must be unanimous. Some of the questions contain

 legal terms that are defined and explained in the Jury Instructions. Please refer to the Jury

 Instructions if you are unsure about the meaning or usage of any legal term that appears in the

 questions below.

        As used in this Verdict Form:

            1. “Plaintiff” and “Qorvo” both refer to Plaintiff Qorvo, Inc.

            2. “Defendants” and “Akoustis” both collectively refer to defendants Akoustis

                Technologies, Inc. and Akoustis, Inc.

            3. “Asserted Patents” refers collectively to U.S. Patent No. 7,522,018 and U.S.

                Patent No. 9,735,755.

            4. “’018 Patent” refers to U.S. Patent No. 7,522,018.

            5. “’755 Patent” refers to U.S. Patent No. 9,735,755.




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                                QUESTIONS AND ANSWERS

 We, the jury, unanimously find as follows:

                      TRADE SECRET MISAPPROPRIATION UNDER
                        THE DEFEND TRADE SECRETS ACT AND
                      THE NORTH CAROLINA TRADE SECRET ACT

 For each of the ALLEGED TRADE SECRETS that Plaintiff Qorvo presented at trial,
 please answer the following questions as instructed in this section:

 Question No. 1(a):

 As to each asserted trade secret listed below, has Akoustis established by the greater weight
 or preponderance of the evidence that Plaintiff’s/Qorvo’s claim is barred by the applicable
 statute of limitations?
  Please write “YES” or “NO” in each column of the table below.

    ALLEGED TRADE                                       VERDICT
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 IF YOU ANSWERED “NO” TO QUESTION 1(a) FOR A PARTICULAR TRADE SECRET,
 ANSWER QUESTION 1(b) BELOW FOR THAT TRADE SECRET. IF YOU ANSWERED
 “YES” TO QUESTION 1(a) FOR A PARTICULAR ALLEGED TRADE SECRET, WRITE
 “N/A” (NOT APPLICABLE) IN BOTH COLUMNS IN QUESTION 1(b) FOR THAT
 ALLEGED TRADE SECRET.




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 Question No. 1(b):

 Please write “YES,” “NO,” or “N/A” in each column of the table below.

     ALLEGED                Has Qorvo established by the         Has Qorvo established by a
   TRADE SECRET         greater weight or preponderance of             greater weight or
                         the evidence that Akoustis is liable   preponderance of the evidence
                          for trade secret misappropriation       that Akoustis was unjustly
                                 for this trade secret?         enriched by misappropriating
                                                                       this trade secret?
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 IF YOU ANSWERED “YES” IN BOTH COLUMNS FOR ANY ALLEGED TRADE
 SECRET IN QUESTION 1(b), THEN ANSWER QUESTIONS 1(c) AND 1(d) BELOW. IF
 YOU DID NOT ANSWER “YES” IN BOTH COLUMNS FOR ANY ALLEGED TRADE
 SECRET IN QUESTION 1(b), WRITE “N/A” IN QUESTION 1(c) AND 1(d) AND MOVE
 ON TO QUESTION 2.

 Question No. 1(c):

 State the amount Akoustis was unjustly enriched by misappropriating Qorvo’s trade secrets as to
 which you have answered “Yes” and “Yes” in Question 1(b) above.

                $____________________________________________




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 Question No. 1(d)

 Was Akoustis’s misappropriation of any of Qorvo’s trade secrets as to which you answered
 “Yes” and “Yes” in Question 1(b) above willful and malicious? Please write “YES,” “NO,” or
 “N/A” on the line below.

        ________________________________________


 IF YOU ANSWERED “YES” TO QUESTION 1(d), ANSWER QUESTION 1(e) BELOW. IF
 YOU ANSWERED “NO” OR “N/A” TO QUESTION 1(d), WRITE “N/A” ON QUESTION
 1(e) AND MOVE ON TO QUESTION 2.

 Question No. 1(e)

 What amount of exemplary damages, if any, do you award to Qorvo against Akoustis?

        $____________________________________________




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                                       CIVIL CONSPIRACY

 Question No. 2(a):
 Has Qorvo proven by a preponderance of the evidence its Civil Conspiracy claim against Akoustis?
 Please write “YES” or “NO” on the line below.

        ________________________________________


 ANSWER QUESTION 2(b) ONLY IF YOU ANSWERED “YES” TO QUESTION 2(a).
 OTHERWISE, DO NOT ANSWER AND MOVE ON TO QUESTION 3.

 Question No. 2(b):
 Do you find that Qorvo has proven by a preponderance of the evidence that actual damage to
 Qorvo was caused by the conspiracy?
 Please write “YES” or “NO” on the line below.

        ________________________________________

 ANSWER QUESTIONS 2(c) ONLY IF YOU ANSWERED “YES” TO QUESTION 2(b).
 OTHERWISE, DO NOT ANSWER AND MOVE ON TO QUESTION 3.

 Question No. 2(c):
 Do you find that Akoustis has proven by a preponderance of the evidence that Qorvo knew or
 with reasonable diligence should have been known the facts underlying Qorvo’s civil
 conspiracy claim or before October 3, 2018?
 Please write “YES” or “NO” on the line below.

        ________________________________________


 ANSWER QUESTIONS 2(d) ONLY IF YOU ANSWERED “YES” TO QUESTION 2(b)
 AND “NO” TO QUESTION 2(c). OTHERWISE, DO NOT ANSWER AND MOVE ON
 TO QUESTION 3.

 Question No. 2(d):
 What amount of damages for actual loss, if any, were caused by Akoustis’ action and thus you
 award to Qorvo against Akoustis?


                         $____________________________________________




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                   FALSE ADVERTISING UNDER THE LANHAM ACT

 Question No. 3(a):
 Has Qorvo proven by a preponderance of the evidence each of the elements of its False Advertising
 claim against Akoustis? Please write “YES” or “NO” on the line below.

        ________________________________________

 ANSWER QUESTION 3(b) ONLY IF YOU ANSWERED “YES” TO QUESTION 3(a).
 OTHERWISE, DO NOT ANSWER AND MOVE ON TO QUESTION 4.

 Question No. 3(b):
 What damages, if any, did Qorvo prove by a preponderance of the evidence it is entitled to for
 Akoustis’ false advertising under the Lanham Act?

        $____________________________________________




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  UNFAIR AND DECEPTIVE TRADE PRACTICES UNDER NORTH CAROLINA LAW

 Question No. 4(a):
 Has Qorvo proven by a preponderance of the evidence its Unfair and Deceptive Trade Practices
 Act claim against Akoustis?
 Please write “YES” or “NO” on the line below.

        ________________________________________


 ANSWER QUESTION 4(b) ONLY IF YOU ANSWERED “YES” TO QUESTION 4(a).
 OTHERWISE, DO NOT ANSWER AND MOVE ON TO QUESTION 5.

 Question No. 4(b):
 Do you find that Akoustis has proven by a preponderance of the evidence that Qorvo knew or
 with reasonable diligence should have been known the facts underlying Qorvo’s unfair and
 deceptive trade practices claim on or before October 3, 2017?
 Please write “YES” or “NO” on the line below.

        ________________________________________

 ANSWER QUESTION 4(c) ONLY IF YOU ANSWERED “YES” TO QUESTION 4(a)
 AND “NO” TO QUESTION 4(b). OTHERWISE, DO NOT ANSWER AND MOVE ON
 TO QUESTION 5.

 Question No. 4(c):
 Did Qorvo prove by a preponderance of the evidence damages caused by Akoustis’ action(s) for the
 alleged unfair and deceptive practices?
 Please write “YES” or “NO” on the line below.

        ________________________________________

 ANSWER QUESTION 4(d) ONLY IF YOU ANSWERED “YES” TO QUESTION 4(c).
 OTHERWISE, DO NOT ANSWER AND MOVE ON TO QUESTION 5.

 Question No. 4(c):
 What damages, if any, did Qorvo prove by a preponderance of the evidence it is entitled to for
 Akoustis’ unfair and deceptive trade practices?

        $________________________________________




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                                 PATENT INFRINGEMENT

   Question No. 5(a):
   Do you find that Qorvo has proven by a preponderance of the evidence that the claims of the
   ’018 or the ’755 Patents have been infringed? Please write “YES” or “NO” in each box
   below.

   PATENT CLAIM                                         VERDICT
   ’018 Patent, Claim 1
   ’018 Patent, Claim 12
   ’755 Patent, Claim 9
   ’755 Patent, Claim 10

 ONLY ANSWER THE FOLLOWING QUESTION 5(b) AND 5(c) IF YOU ANSWERED
 “YES” TO ANY PART OF QUESTION 5(a). OTHERWISE, DO NOT ANSWER QUESTION
 5(b) OR 5(c) AND MOVE DIRECTLY TO THE UNANIMOUS VERDICT PAGE.

 Question No. 5(b) (damages)

 What do you find is the amount of damages, if any, that should be paid to Qorvo for the
 infringement of each Asserted Patent, to compensate for the damages caused by Akoustis’
 infringement?

                ’018 Patent: $_________________________________________


                ’755 Patent: $_________________________________________

   Question No. 5(c):
   Did Qorvo prove by a preponderance of the evidence that Akoustis’ infringement of the ’018
   or ‘755 patent was willful? Please write “YES” or “NO” in each box below.

   PATENT CLAIM                                         VERDICT
   ’018 Patent, Claim 1
   ’018 Patent, Claim 12
   ’755 Patent, Claim 9
   ’755 Patent, Claim 10




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                                    UNANIMOUS VERDICT

        Upon reaching a unanimous verdict on each question above, the presiding juror must

 sign and each juror must sign below. We, the jury, unanimously agree to the answers to the

 above questions and return them under the instructions of this Court as our verdict in this case.



 _________________
 Date:

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 Presiding Juror

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